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 9                                    UNITED STATES DISTRICT COURT
10                                  NORTHERN DISTRICT OF CALIFORNIA
11                                            OAKLAND DIVISION
12
   CENTER FOR GENDER AND REFUGEE                          Case No. 3:24-cv-01601
13 STUDIES and AL OTRO LADO, INC.,
                                                          DEFENDANT’S ANSWER TO COMPLAINT
14           Plaintiffs,                                  FOR DECLARATORY AND INJUNCTIVE
                                                          RELIEF
15      v.
16 U.S. CUSTOMS AND BORDER
   PROTECTION,
17
         Defendant.
18

19

20                                                   ANSWER
21           Defendant U.S. Customs and Border Protection (“CBP” or “Defendant”), hereby responds to
22 Plaintiffs’ Complaint for Declaratory and Injunctive Relief (“Complaint”) as follows:

23                                              INTRODUCTION
24           1.      Paragraph 1 of the Complaint contains a characterization of the action to which no response
25 is required. To the extent a response is required, Defendant admits that this action was brought by

26 Plaintiffs pursuant to the Freedom of Information Act (“FOIA”), 5 U.S.C. § 522, et seq. Except as

27 expressly admitted, Defendant denies the allegations in paragraph 1.

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 1          2.      Paragraph 2 of the Complaint sets forth Plaintiffs’ characterization of alleged background

 2 information, not allegations of fact pertinent to the resolution of the claims at issue in this FOIA action,

 3 and thus no response is required.

 4          3.      Paragraph 3 of the Complaint sets forth Plaintiffs’ characterization of alleged background

 5 information, not allegations of fact pertinent to the resolution of the claims at issue in this FOIA action,

 6 and thus no response is required.

 7          4.      Paragraph 4 of the Complaint sets forth Plaintiffs’ characterization of alleged background

 8 information, not allegations of fact pertinent to the resolution of the claims at issue in this FOIA action,

 9 and thus no response is required.
10          5.      Paragraph 5 of the Complaint sets forth Plaintiffs’ characterization of alleged background
11 information, not allegations of fact pertinent to the resolution of the claims at issue in this FOIA action,

12 and thus no response is required.

13          6.      Paragraph 6 of the Complaint sets forth Plaintiffs’ characterization of alleged background
14 information, not allegations of fact pertinent to the resolution of the claims at issue in this FOIA action,

15 and thus no response is required.

16          7.      Defendant admits that Plaintiffs submitted two FOIA requests to Defendant on October 5,
17 2023 (“Request One”), and December 14, 2023 (“Request Two”). The requests speak for themselves and

18 are the best evidence of their contents, and all allegations concerning the contents inconsistent therewith

19 are denied.

20          8.      Defendant admits that Plaintiffs sought expedited processing as part of Request Two. The

21 remaining allegations in paragraph 8 consist of Plaintiffs’ characterization of alleged background

22 information to which no response is required. To the extent a response is required, Defendant denies the

23 allegations.

24          9.      Defendant admits that at the time of the filing of the Complaint, it had not issued any final

25 determination in response to Plaintiffs’ Request Two. Defendant responds that on December 12, 2023,

26 Defendant delivered its determination in response to Request One. An appeal was submitted on December

27 19, 2023. On May 16, 2024, a final response was issued as to Request One.

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 1                                       JURISDICTION AND VENUE

 2          10.     Paragraph 10 contains Plaintiffs’ legal conclusions regarding jurisdiction, to which no

 3 response is required. To the extent a response is required, Defendant admits that the Court has subject

 4 matter jurisdiction over FOIA claims subject to the terms and limitations of the FOIA.

 5          11.     Paragraph 11 contains Plaintiffs’ legal conclusions regarding jurisdiction, to which no

 6 response is required. To the extent a response is required, Defendant admits that the Court has subject

 7 matter jurisdiction over FOIA claims subject to the terms and limitations of the FOIA.

 8          12.     Paragraph 12 contains Plaintiffs’ legal conclusions, to which no response is required. To

 9 the extent a response is required, Defendant denies the allegations in paragraph 12.
10          13.     Paragraph 13 contains Plaintiffs’ legal conclusions regarding venue, to which no response
11 is required. To the extent a response is required, Defendant admits that venue is appropriate in this judicial

12 district as set forth in the FOIA.

13                                      INTRADISTRICT ASSIGNMENT
14          14.     Paragraph 14 contains Plaintiffs’ legal conclusions regarding intradistrict assignment, to
15 which no response is required. To the extent a response is required, Defendant respectfully directs the

16 Court to the cited provision and denies all allegations inconsistent therewith.

17                                                   PARTIES
18          15.     Defendant lacks knowledge or information sufficient to admit or deny the allegations in

19 paragraph 15, and on that basis denies them.

20          16.     Defendant lacks knowledge or information sufficient to admit or deny the allegations in

21 paragraph 16, and on that basis denies them.

22          17.     Defendant admits that it qualifies as an “agency” under the FOIA, that it is subject to the

23 FOIA, and that it has been delegated authority to administer certain provisions relating to apprehension

24 and processing of noncitizens of the United States. Except as expressly admitted, Defendant denies the

25 allegations in paragraph 17.

26                                                    FACTS

27          18.     Paragraph 18 of the Complaint sets forth Plaintiffs’ characterization of alleged background

28 information, not allegations of fact pertinent to the resolution of the claims at issue in this FOIA action,

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 1 and thus no response is required.

 2          19.     Paragraph 19 of the Complaint sets forth Plaintiffs’ characterization of alleged background

 3 information, not allegations of fact pertinent to the resolution of the claims at issue in this FOIA action,

 4 and thus no response is required.

 5          20.     Paragraph 20 of the Complaint sets forth Plaintiffs’ characterization of alleged background

 6 information, not allegations of fact pertinent to the resolution of the claims at issue in this FOIA action,

 7 and thus no response is required.

 8          21.     Paragraph 21 of the Complaint sets forth Plaintiffs’ characterization of alleged background

 9 information, not allegations of fact pertinent to the resolution of the claims at issue in this FOIA action,
10 and thus no response is required.

11          22.     Paragraph 22 of the Complaint sets forth Plaintiffs’ characterization of alleged background
12 information, not allegations of fact pertinent to the resolution of the claims at issue in this FOIA action,

13 and thus no response is required.

14          23.     Paragraph 23 of the Complaint sets forth Plaintiffs’ characterization of alleged background
15 information, not allegations of fact pertinent to the resolution of the claims at issue in this FOIA action,

16 and thus no response is required.

17          24.     Paragraph 24 of the Complaint sets forth Plaintiffs’ characterization of alleged background
18 information, not allegations of fact pertinent to the resolution of the claims at issue in this FOIA action,

19 and thus no response is required.

20          25.     Paragraph 25 of the Complaint sets forth Plaintiffs’ characterization of alleged background

21 information, not allegations of fact pertinent to the resolution of the claims at issue in this FOIA action,

22 and thus no response is required.

23          26.     Paragraph 26 of the Complaint sets forth Plaintiffs’ characterization of alleged background

24 information, not allegations of fact pertinent to the resolution of the claims at issue in this FOIA action,

25 and thus no response is required.

26          27.     Paragraph 27 of the Complaint sets forth Plaintiffs’ characterization of alleged background

27 information, not allegations of fact pertinent to the resolution of the claims at issue in this FOIA action,

28 and thus no response is required.

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 1          28.     Paragraph 28 of the Complaint sets forth Plaintiffs’ characterization of alleged background

 2 information, not allegations of fact pertinent to the resolution of the claims at issue in this FOIA action,

 3 and thus no response is required.

 4          29.     Paragraph 29 of the Complaint sets forth Plaintiffs’ characterization of alleged background

 5 information, not allegations of fact pertinent to the resolution of the claims at issue in this FOIA action,

 6 and thus no response is required.

 7          30.     Paragraph 30 of the Complaint sets forth Plaintiffs’ characterization of alleged background

 8 information, not allegations of fact pertinent to the resolution of the claims at issue in this FOIA action,

 9 and thus no response is required.
10          31.     Paragraph 31 contains Plaintiffs’ legal conclusions to which no response is required. To
11 the extent a response is required, Defendant denies the allegations in paragraph 31.

12                                          PLAINTIFFS’ REQUESTS
13          32.     Defendant admits that Plaintiffs submitted Request One to Defendant on October 5, 2023.
14 The request speaks for itself and is the best evidence of its contents, and all allegations concerning the

15 contents inconsistent therewith are denied.

16          33.     Defendant admits that it assigned Request One tracking number CBP-FO-2024-002267.
17          34.     Defendant admits that on December 12, 2023, Defendant delivered its determination in
18 response to Request One, stating that it could not identify any records responsive to Request One. An

19 appeal was submitted on December 19, 2023. On May 16, 2024, a final response was issued as to Request

20 One.

21          35.     Defendant admits that Plaintiffs submitted Request Two to Defendant on December 14,

22 2023. The request speaks for itself and is the best evidence of its contents, and all allegations concerning

23 the contents inconsistent therewith are denied.

24          36.     Defendant admits that Plaintiffs requested expedited processing of Request Two. The

25 request speaks for itself and is the best evidence of its contents, and all allegations concerning the contents

26 inconsistent therewith are denied.

27          37.     Request Two speaks for itself and is the best evidence of its contents, and all allegations

28 concerning the contents inconsistent therewith are denied.

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 1          38.     Defendant admits that it assigned Request Two tracking number CBP-FO-2024-032860.

 2          39.     Defendant admits that it has not issued a final determination in response to Request Two.

 3          40.     Defendant admits that it has not produced records in response to Request Two.

 4          41.     Paragraph 41 contains Plaintiffs’ legal conclusions to which no response is required. To

 5 the extent a response is required, Defendant denies the allegations in paragraph 41.

 6          42.     Paragraph 42 contains Plaintiffs’ legal conclusions to which no response is required. To

 7 the extent a response is required, Defendant denies the allegations in paragraph 42.

 8                                           CLAIMS FOR RELIEF

 9                                               COUNT I
            Violation of 5 U.S.C. § 552(a)(2) Failure to Make Records Available for Public Inspection
10
            43.     Defendant incorporates by reference its response to each allegation set forth above as if
11
     fully set forth herein.
12
            44.     In so far as paragraph 44 contains a citation to a provision of the FOIA, Defendant admits
13
     that the paragraph cites the FOIA and respectfully refers the Court to the FOIA as the best evidence of its
14
     contents and denies any allegations in this paragraph inconsistent therewith.
15
            45.     Paragraph 45 contains Plaintiffs’ legal conclusions to which no response is required. To
16
     the extent a response is required, Defendant denies the allegations in paragraph 45.
17
                                                  COUNT II
18                Violation of 5 U.S.C. § 552(a)(6)(A)(i) Failure to Make and Communicate Timely
                                                Determination
19
            46.     Defendant incorporates by reference its response to each allegation set forth above as if
20
     fully set forth herein.
21
            47.     In so far as paragraph 47 contains a citation to a provision of the FOIA, Defendant admits
22
     that the paragraph cites the FOIA and respectfully refers the Court to the FOIA as the best evidence of its
23
     contents and denies any allegations in this paragraph inconsistent therewith.
24
            48.     Paragraph 48 contains Plaintiffs’ legal conclusions to which no response is required. To
25
     the extent a response is required, Defendant denies the allegations in paragraph 48.
26
                                                 COUNT III
27                    Violation of 5 U.S.C. § 552(a)(3)(C) Failure to Conduct Adequate Search

28          49.     Defendant incorporates by reference its response to each allegation set forth above as if

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 1 fully set forth herein.

 2          50.     In so far as paragraph 50 contains a citation to a provision of the FOIA, Defendant admits

 3 that the paragraph cites the FOIA and respectfully refers the Court to the FOIA as the best evidence of its

 4 contents and denies any allegations in this paragraph inconsistent therewith.

 5          51.     Paragraph 51 contains Plaintiffs’ legal conclusions to which no response is required. To

 6 the extent a response is required, Defendant denies the allegations in paragraph 51.

 7                                               COUNT IV
                   Violation of 5 U.S.C. § 552(a)(4)(B) Unlawful Withholding of Agency Records
 8
            52.     Defendant incorporates by reference its response to each allegation set forth above as if
 9
     fully set forth herein.
10
            53.     In so far as paragraph 53 contains a citation to a provision of the FOIA, Defendant admits
11
     that the paragraph cites the FOIA and respectfully refers the Court to the FOIA as the best evidence of its
12
     contents and denies any allegations in this paragraph inconsistent therewith.
13
            54.     Paragraph 54 contains Plaintiffs’ legal conclusions to which no response is required. To
14
     the extent a response is required, Defendant denies the allegations in paragraph 54.
15
                                                  COUNT V
16                Violation of 5 U.S.C. § 552(a)(3)(A) Failure to Make Records Promptly Available

17          55.     Defendant incorporates by reference its response to each allegation set forth above as if

18 fully set forth herein.

19          56.     In so far as paragraph 56 contains a citation to a provision of the FOIA, Defendant admits

20 that the paragraph cites the FOIA and respectfully refers the Court to the FOIA as the best evidence of its

21 contents and denies any allegations in this paragraph inconsistent therewith.

22          57.     Paragraph 57 contains Plaintiffs’ legal conclusions to which no response is required. To

23 the extent a response is required, Defendant denies the allegations in paragraph 57.

24          58.     Paragraph 58 contains Plaintiffs’ legal conclusions to which no response is required. To

25 the extent a response is required, Defendant denies the allegations in paragraph 58.

26                                               COUNT VI
             Violation of 5 U.S.C. § 552(a)(6)(E) Failure to Make Expedited Processing Determination
27
            59.     Defendant incorporates by reference its response to each allegation set forth above as if
28

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 1 fully set forth herein.

 2          60.    In so far as paragraph 60 contains a citation to a provision of the FOIA, Defendant admits

 3 that the paragraph cites the FOIA and respectfully refers the Court to the FOIA as the best evidence of its

 4 contents and denies any allegations in this paragraph inconsistent therewith.

 5          61.    Paragraph 61 contains Plaintiffs’ legal conclusions to which no response is required. To

 6 the extent a response is required, Defendant denies the allegations in paragraph 61.

 7                                          REQUEST FOR RELIEF

 8          The allegations in paragraphs 1 through 10 following the “WHEREFORE” clause consist of

 9 Plaintiffs’ request for relief to which no response is required. To the extent a response is required,
10 Defendant denies that Plaintiffs are entitled to any relief whatsoever.

11          Defendant denies each and every allegation not specifically and expressly admitted herein.
12                                        AFFIRMATIVE DEFENSES

13          Defendant respectfully requests and reserves the right to amend, alter, and supplement the defenses

14 contained in this Answer as the facts and circumstances giving rise to the Complaint become known to

15 Defendant throughout the course of this litigation, including any defenses available pursuant to Federal

16 Rules of Civil Procedure 8 and 12.

17                                     FIRST AFFIRMATIVE DEFENSE

18          Plaintiffs are not entitled to compel the production or release of information that is protected from

19 disclosure by one or more statutory exemptions or exclusions. 5 U.S.C. § 552(b). Disclosure of such

20 information is not required or permitted.

21                                   SECOND AFFIRMATIVE DEFENSE

22          Plaintiffs are not entitled to declaratory relief and/or any other relief beyond what is provided for

23 under the FOIA. 5 U.S.C. § 552.

24                                    THIRD AFFIRMATIVE DEFENSE

25          Plaintiffs are neither eligible for nor entitled to attorney’s fees or costs.

26          Defendant respectfully requests and reserves the right to amend, alter, and supplement the

27 defenses contained in this Answer, pursuant to the Federal Rules of Civil Procedure, as the facts and

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 1 circumstances giving rise to the Complaint become known to Defendant throughout the course of this

 2 litigation.

 3                                         PRAYER FOR RELIEF

 4         WHEREFORE, Defendant prays that:

 5         1.       Plaintiffs take nothing by the Complaint;

 6         2.       Defendant has judgment against Plaintiffs;

 7         3.       Defendant be awarded its costs of suit; and

 8         4.       For such other and further relief as the Court may deem proper.

 9 DATED: June 6, 2024                                  Respectfully submitted,
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                                                        ISMAIL J. RAMSEY
11                                                      United States Attorney
12                                                      /s/ Molly A. Friend
                                                        MOLLY A. FRIEND
13                                                      Assistant United States Attorney
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